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                    UNITED STATES DISTRICT COURT
                       DISTRICT OF MINNESOTA



UNITED STATES OF AMERICA,

                  Plaintiff,



v.                                   ORDER
                                     Criminal File No. 11-87 (MJD/JJK)

(1) JULIAN OKEAYAINNEH and
(9) OLUGBENGA TEMIDAGO ADENIRAN,



                  Defendant.

Ann M. Anaya and Lola Velazquez-Aguilu, Assistant United States Attorneys,
Counsel for Plaintiff.

Jean M. Brandl, Cloutier & Brandl, P.A., Counsel for Defendant Okeayainneh.

Daniel Mohs, Law Office of Daniel Mohs, Counsel for Defendant Adeniran.



      The above-entitled matter comes before the Court upon the Report and

Recommendation of United States Magistrate Judge Jeffrey J. Keyes dated

January 24, 2012. Defendants both filed objections to the Report and

Recommendation.




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      Pursuant to statute, the Court has conducted a de novo review upon the

record. 28 U.S.C. § 636(b)(1); Local Rule 72.2(b). Based upon that review, the

Court adopts the Report and Recommendation of United States Magistrate Judge

Keyes dated January 24, 2012.

      Accordingly, based upon the files, records, and proceedings herein, IT IS

HEREBY ORDERED:

      1. The Court ADOPTS the Report and Recommendation of United States
         Magistrate Judge Jeffrey J. Keyes dated January 24, 2012 [Docket Nos.
         589, 590].

      2. Defendant Okeayainneh’s Motion for Dismissal Based on the
         Speedy Trial Act [Docket No. 577] is DENIED.

      3. Defendant Adeniran’s Second Motion to Dismiss the Indictment
         for Violation of the Speedy Trial Act [Docket No. 581] is
         DENIED.



Dated: February 1, 2012               s/Michael J. Davis
                                      Michael J. Davis
                                      Chief Judge
                                      United States District Court




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